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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


       v.                                                  DECISION AND ORDER
                                                               10-CR-0219S
                                                                    (1)
TONAWANDA COKE CORPORATION and
MARK L. KAMHOLZ,

                            Defendants.


       1.     Presently before this Court is Defendant Tonawanda Coke Corporation’s

motion for this Court’s March 17, 2014 Decision and Order on Defendant’s ability to pay

a significant fine to remain permanently under seal.          After reviewing the parties’

submissions, this Court holds that Defendant’s motion is granted and the decision will

remain under seal.

       2.     “There is little doubt that the First Amendment right of access extends to

sentencing proceedings” and that the public and press have a right of access to documents

filed in connection with those proceedings. United States v. Alcantara, 396 F.3d 189, 196

(2d Cir. 2005); see United States v. Huntley, 943 F. Supp. 2d 383, 385 (E.D.N.Y. 2013)

(highlighting the importance of transparency in the judicial branch). Here, however, sealing

the Decision and Order will not unduly hinder the public’s ability to consider the rationale

behind this Court’s decision on Defendant’s finances or undermine the importance of

transparency in such decisions. As stated at sentencing, the conclusion that Defendant

had the ability to pay $25 million in penalties was “[b]ased on the evidence of [D]efendant’s

cash flow for the years following 2009 as well as a finding of excess working capital.” (Tr.

At 8.) Historical financial data supporting this decision was publicly filed in support of
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Defendant’s initial expert report. (See Docket No. 229-6.) This Court rejected, however,

the defense expert’s opinion that Defendant would be adversely affected by an irreversible

downturn in industry conditions where consideration of the submissions as a whole

supported the conclusion that any adverse effect was more cyclical in nature.

       3.     Finally, although the sealed March 17, 2014 Decision and Order provides

more detail, it also discusses additional financial documents which were initially submitted

to the Probation Department for preparation of this Defendant’s Presentence Report. See

Alcantara, 396 F.3d at 197 n. 6 (recognizing that courts generally do not recognize a First

Amendment right of access to presentence reports). These materials were turned over to

the Government only after the entry of a consent order recognizing the confidential nature

of the documents. (Docket No. 259.) This Court therefore finds that good cause has been

shown for the Decision and Order to remain under seal.

       IT HEREBY IS ORDERED, that Defendant’s motion for this Court’s March 17,

2014 Decision and Order to remain under seal is GRANTED.

       SO ORDERED.

Dated: May 29, 2014
       Buffalo, New York

                                                         /s/William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                               Chief Judge
                                                        United States District Court




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